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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  UNITED STATES OF AMERICA,

               - v. -

  LINDA SUN,
     a/k/a “Wen Sun,” “Ling Da Sun,” and            S1 24 Cr. 346 (BMC) (TAM)
     “Linda Hu,” and

  CHRIS HU,

                             Defendants.




                    REPLY MEMORANDUM IN FURTHER SUPPORT
                      OF LINDA SUN’S MOTION TO SUPPRESS




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                                  PRELIMINARY STATEMENT

        Is the government entitled to conduct a new Fourth Amendment intrusion two years after

 fully executing the warrant on which it purports to rely? No matter the angle from which that

 question is scrutinized, the answer is and should be no. Accepting the government’s arguments

 would disregard well-reasoned precedent and risk unfettered government searches through troves

 of personal data whenever agents can point to some lapsed warrant issued years earlier. That would

 undermine “[t]he essential purpose of the Fourth Amendment,” which “is . . . to safeguard

 individual privacy against arbitrary governmental intrusions.” Phaneuf v. Fraikin, 448 F.3d 591,

 595 (2d Cir. 2006) (quoting Delaware v. Prouse, 440 U.S. 648, 653–54 (1979)).

        Nothing justifies the corners cut here. The government could have followed the rules

 governing reviews of electronic information, but it chose instead to bypass the courts and conduct

 new searches of bulk data. The government knows how to seek a new warrant when another

 becomes stale; indeed, it did so in this case shortly after the defense sought to file this motion. Yet

 it chose not to in 2024. That decision was deliberate, reckless, or at least grossly negligent. Cf.

 McPhaul v. United States, 364 U.S. 372, 387 (1960) (Douglas, J. dissenting) (“[W]hen it comes to

 criminal prosecutions, the Government must turn square corners.”). And it took months of

 inquiries by the defense to even bring that fact to light. The exclusionary rule was intended to

 deter such conduct.

        Far from providing any legitimate justification for its actions, the government’s opposition

 (see Dkt. 90 (“Opp.”)) mostly tries to rewrite history and the rules. 1 The facts and the law confirm,

 however, that the government’s unilateral resuscitation of an already-executed, two-year-old



 1
       For the Court’s convenience, wherever possible this reply adopts the abbreviations and
 naming conventions employed in Ms. Sun’s opening brief and the government’s opposition.
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 warrant in a changed investigation was unlawful. And thanks to the government’s opposition, it is

 clear that conduct infected later warrants.2 Particularly as Americans’ lives become more digital

 every day, the Court should not reward shrugging at constitutional protections designed to

 safeguard electronic privacy. All material traceable to the government’s illegal searches should be

 suppressed.

                                           ARGUMENT

 I.     Conducting New Searches Years After Fully Executing a Warrant Is Unlawful

        The Second Circuit has recognized the serious “privacy concerns implicated” when the

 government retains “possession of a vast trove of personal information about the person to whom

 the [data] belongs, much of which may be entirely irrelevant to the criminal investigation that led

 to the seizure.” United States v. Ganias, 824 F.3d 199, 217 (2d Cir. 2016). The warrant

 requirement serves to protect those interests. See, e.g., Johnson v. United States, 333 U.S. 10, 14

 (1948) (observing that “[a]ny assumption that evidence sufficient to support a magistrate’s

 disinterested determination to issue a search warrant will justify [] officers in making a search

 without a warrant would reduce the Amendment to a nullity” and renders searches subject “only

 [to] the discretion of police officers”). The warrant requirement was violated here.

        A.      The government’s 2024 searches violated the Fourth Amendment.

        The government’s primary contention—that agents’ new searches in 2024, admittedly

 completed “approximately two years after the date of the warrant,” were nonetheless “temporally




 2
         Ms. Sun previously observed that “[o]ther warrants may become relevant if they, too,
 yielded information or evidence traceable to the government’s constitutional violation” and
 “[i]dentifying all such information or evidence may well require a hearing . . . .” (Dkt. 78 (“Mot.”)
 at 2 n.2.) As discussed more fully infra, the government’s opposition shortcuts some of that work
 by showing how the Residence Warrant expressly relied on illegally obtained material.


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 reasonable with respect to the underlying warrant”—is completely unmoored from the law and

 this record. (Opp. 16.)

        First, attempting to reframe the new 2024 searches as an innocent continuation of the prior

 review is disingenuous. The government previously admitted that its review pursuant to the 2022

 Gmail Warrant was completed in 2022, lasted “approximately two months,” and culminated in

 “the reviewing agents’ responsiveness report,” which was then stored on the FBI’s system. (Dkt.

 62 at 2.) Implying now that the review was ongoing all along—something the government never

 expressly says (see Opp. 16–18), and rightly so—strains credulity since it took two years for

 anyone to notice that “the reviewing agents’ responsiveness report” had been “inadvertently

 expunged from FBI computers.” (Dkt. 62 at 2.) Surely someone would have caught that earlier

 if, as the government now implies, it was still “finaliz[ing]” its review during those years. (Opp.

 17.) The new searches plainly constituted a separate review.

        For that reason, almost all of the cases cited by the government as endorsing “reviews of

 seized electronic data . . . finalized within two years (or even somewhat longer)” are inapposite.

 (Id.) With one exception, reviews in those cases were ongoing and prolonged by circumstances

 the courts found to be reasonable. See United States v. Oztemel, 3:23-CR-00026 (KAD), 2024 WL

 3090251, at *11 (D. Conn. 2024) (finding two years and nine months reasonable where the

 government had to review a total of 112,000 records); United States v. Hadden, No. 20-CR-468,

 2022 WL 1409600, at *4–5 (S.D.N.Y. May 4, 2022) (stating the government’s “ongoing” eighteen-

 month review was reasonable given the “disturbance caused by the COVID pandemic during

 which the review was conducted”); United States v. Almaleh, No. 17-CR-25, 2022 WL 602069, at

 *20 (S.D.N.Y. Feb. 28, 2022) (noting the government made rolling productions while completing

 its review over the course of twenty months); United States v. Estime, No. 19-CR-711, 2020 WL




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 6075554, at *14–15 (S.D.N.Y. Oct. 14, 2020) (finding “difficulties created by encryption”

 provided a “meritorious basis” for a ten-month delay in the government’s review); United States

 v. Nejad, 436 F. Supp. 3d 707, 735 (S.D.N.Y. 2020) (concluding three years to generate a

 responsiveness report was reasonable since “search warrant returns comprised over one million

 documents in at least three different languages”); United States v. Sosa, 379 F. Supp. 3d 217, 222

 (S.D.N.Y. 2019) (approving responsiveness reports generated within ten and fifteen months). 3

        Only one case cited by the government addresses searches conducted after a

 responsiveness report was generated, and it weighs in Ms. Sun’s favor. Confronting subsequent

 government searches of the kind at issue here, the court in Nejad stated that “searches conducted

 subsequent to the completion of the responsiveness review violated the Fourth Amendment.” 436

 F. Supp. 3d at 736. Even the government does not dispute that “commonsense proposition,”

 pivoting instead to deny that it is a “bright-line rule prohibiting diligent efforts to recreate a

 responsiveness report . . . .” (Opp. 18.) That is a dubious argument given established limits on

 when the government can access private information. See, e.g., United States v. Jacobsen, 466

 U.S. 109, 113 (1984) (“A ‘search’ occurs when an expectation of privacy that society is prepared

 to consider reasonable is infringed.”); Lauro v. Charles, 219 F.3d 202, 209 (2d Cir. 2000) (“[T]he

 Fourth Amendment’s proscription of unreasonable searches and seizures not only prevents

 searches and seizures that would be unreasonable if conducted at all, but also ensures


 3
         The government also suggests that United States v. Gorrell, 360 F. Supp. 2d 48 (D.D.C.
 2004); United States v. Burns, No. 07-CR-556, 2008 WL 4542990 (N.D. Ill. Apr. 29, 2008); and
 United States v. Jarman, 847 F.3d 259 (5th Cir. 2017), reflect decisions “in this Circuit.” (Opp.
 17.) Those cases are distinguishable on similar grounds: each concerned the length of a single
 review, not a two-year interval before later searches like those at issue here. See Jarman, 847 F.3d
 at 263, 266–67 (approving yearlong search where a taint team took eight months to screen
 potentially privileged material and the prosecution team completed a responsiveness review in four
 months); accord Burns, 2008 WL 4542990 (considering a ten-month initial search described as
 “lengthy”); Gorrell, 360 F. Supp. 2d at 55 n.5 (same).


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  reasonableness in the manner and scope of searches and seizures that are carried out.” (cleaned

  up)); Nejad, 436 F. Supp. 3d at 736 (concluding the “handling of the entire set of data after [the

  completion of a responsiveness review] was not only problematic but unconstitutional”); United

  States v. Collins, 409 F. Supp. 3d 228, 244 (S.D.N.Y. 2019) (“The Government—having conducted

  a search of . . . iCloud data consistent with the Fourth Amendment and a search warrant—does not

  have the legal authority to go back and search materials that are non-responsive, i.e., outside the

  scope of the search warrant.”); United States v. Metter, 860 F. Supp. 2d 205, 215 (E.D.N.Y. 2012)

  (“[T]he Fourth Amendment requires the government to complete its review, i.e., execute the

  warrant, within a ‘reasonable’ period of time.”).

          Any responsiveness review necessarily requires searching through both responsive and

  nonresponsive material. The government has identified no Fourth Amendment exception for

  redoing such reviews, and background constitutional rules do not evaporate because the

  government wants a do-over. Nor does it matter that agents purportedly were focused on finding

  particular information that they expected to be responsive. See United States v. Voustianiouk, 685

  F.3d 206, 217 (2d Cir. 2012) (noting “the Fourth Amendment’s general rule that the government

  first obtain a warrant . . . does not hinge on the strength of an officer’s conviction that evidence of

  a crime will be uncovered”). Indeed, other courts have held that the government cannot redo

  searches without authorization even to locate exculpatory evidence. See, e.g., Collins, 409 F. Supp.

  3d at 243–44 (“Even if the Government’s search . . . was an insufficient search for Brady material,

  Defendants’ assertion that since the Government copied and/or imaged the entirety of the contents

  of the electronic devices . . . , including the iCloud data . . . , the Government is entitled to conduct

  another search of the non-responsive material for Brady/Rule 16 Material, is legally flawed.”). It




                                                      5
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  would be a perverse constitutional rule that precludes the government from redoing searches

  benefitting a defendant while simultaneously permitting searches intended to inculpate them.

         It is revealing—but not surprising—that the government has not identified any case

  sanctioning its “redoing searches doesn’t matter” theory. 4 From a doctrinal perspective, the

  government’s demand for cases reflecting a “bright-line rule” gets things backwards. (Opp. 18.)

  The only reason the government can conduct later searches of electronic information is because

  the law recognizes the practical inability to complete an immediate review. See, e.g., Metter, 860

  F. Supp. 2d at 213–14 (noting that “[a]s technology and white collar and other complex criminal

  litigation evolved,” “courts developed a more flexible approach to the execution of search warrants

  for electronic evidence, holding the government to a standard of reasonableness”). Otherwise, the

  “bright-line rule” would be that the government had fourteen days to complete its work. (See Dkt.

  79-2 at 1 (requiring the government to “execute this warrant” within fourteen days).) That practical

  accommodation should not be leveraged to avoid the Constitution’s warrant requirement.

         B.      The government’s arguments rely on factual assertions that would require an
                 evidentiary hearing.

         Putting aside the government’s lack of legal support, all of its arguments rely on material

  factual assertions.5 Even the government tacitly acknowledges as much, arguing that “no evidence

  in the record suggest[s] that the government sought to ‘expand its search as its investigation and

  charging theories developed’ in 2024.” (Opp. 19 (quoting United States v. Wey, 256 F. Supp. 3d




  4
         As discussed below, Ms. Sun does not agree that is what agents did as a factual matter.
  Either way, however, the searches were unlawful.
  5
         If the Court agrees that the government violated the Fourth Amendment by conducting new
  searches in 2024 based on Ms. Sun’s legal arguments, then of course the Court can grant her motion
  without a hearing. Accepting the government’s arguments, however, requires crediting its factual
  representations.


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  355, 405 (S.D.N.Y. 2017) (emphasis added) (internal alterations omitted)).) 6 But a hearing is how

  that record is developed and “ordinarily is required if the moving papers are sufficiently definite,

  specific, detailed, and nonconjectural to enable the court to conclude that contested issues of fact

  going to the validity of the search are in question.” United States v. Robinson, 153 F. Supp. 2d

  188, 191 (E.D.N.Y. 2001) (quoting United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992))

  (cleaned up).

         The government’s arguments raise a number of factual issues. To start, there is the frequent

  assertion that the government “simply sought to identify the same documents that it had already

  seized in 2022.” (Opp. 19.) That factual claim is essential to the government’s arguments but

  hardly incontestable. For one thing, agents did not merely identify the same documents—by the

  government’s own admission, they included at least 86 additional communications “[o]utside of

  the emails listed in the charts with header information” in their new responsiveness report. (See

  id. at 3.) For another, the investigation had evolved significantly over the course of two years and

  agents were not in a position to reconstruct the prior review. Beyond the likely shift in perspectives

  as the case evolved,7 agents also would have been obligated to remain vigilant for any newly

  identified exculpatory material. See, e.g., California v. Trombetta, 467 U.S. 479, 485 (1984)

  (noting “the prosecution has a constitutional duty to turn over exculpatory evidence that would

  raise a reasonable doubt about the defendant’s guilt”); United States v. Agurs, 427 U.S. 97, 110

  (1976) (explaining that “[i]f evidence highly probative of innocence is in [the] file, [a prosecutor]

  should be presumed to recognize its significance even if he [or she] has actually overlooked it”);


  6
          Notably, the decision in Wey was issued after an evidentiary hearing. See, e.g., 256 F. Supp.
  3d. at 366 (describing “two-day suppression hearing”), 405 (discussing testimony by a prosecutor
  and agent regarding continuing searches of electronic evidence).
  7
         The government has never identified which agents conducted the old searches in 2022 or
  the new searches in 2024, so staffing changes also may have impacted the new review.


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  United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (“An individual prosecutor is presumed

  . . . to have knowledge of all information gathered in connection with his [or her] office’s

  investigation of the case and indeed ‘has a duty to learn of any favorable evidence known to the

  others acting on the government’s behalf in the case, including the police.’” (quoting Kyles v.

  Whitley, 514 U.S. 419, 437 (1995)). And regardless, representations about what agents intended

  when conducting the 2024 searches are just that—they reflect the government’s view of the facts,

  but the defense (and the Court) might well reach different conclusions after an evidentiary hearing.

         Nor are those the only facts put in issue by the government’s arguments. Among other

  things, they rely on the following:

            The pervading premise that agents’ intent in 2024 was merely “to re-create a
             responsiveness report of the emails seized in 2022 (which had been mistakenly
             deleted),” and that they “simply sought to identify the same documents . . .
             already seized in 2022.” (Opp. 16, 19.)

            The claim that “the 2024 re-creation of the original responsiveness report . . .
             was temporally reasonable with respect to the underlying warrant,” including
             because agents were “attend[ing] to multiple competing tasks at any given
             time.” (Id. at 16, 20.)

            The assertion that agents made “diligent efforts to recreate a responsiveness
             report” after destroying the original. (Id. at 18.)

            The implicit assumption that the new searches in 2024 may be considered part
             of the same review conducted and completed in 2022. (See id. at 16–18.)

            The assertion that “the government never abandoned the charging theory that
             [Ms.] Sun engaged in a pay-to-play scheme involving the PRC government and
             its representatives and agents,” even though the offenses under investigation
             changed and no pay-to-play scheme was ever charged. (Id. at 20.)

            The related assertion that agents considered a “pay-to-play” theory to be
             “encompassed in one of the 2022 Subject Offenses . . . and in several of the
             2024 Subject Offenses, including . . . FARA” (id.), particularly given that the
             government has disclaimed any need to prove a corrupt exchange—the defining
             characteristic of any pay-to-play scheme—in connection with FARA. (See Dkt.
             52 at 15–16 (urging the Court to ignore any “requirements of a quid pro quo
             and specific timing and linkage of any bribe or gratuity” and arguing that
             “interpretations of the gratuity, bribery, and honest services statutes have no


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             bearing on the scope of FARA” and that it “shares none of the elements of these
             public corruption statutes”).)

            The insistence that “[t]here is no evidence in the record suggesting that the
             government sought to ‘expand its search as its investigation and charging
             theories developed’ in 2024.” (Opp. at 19 (quoting Wey, 256 F. Supp. 3d. at
             405).)

            The related assertion that the government “did not expand the scope of the
             search” and so “there was . . . merely an effort to identify the same documents
             that were already seized.” (Id. at 19.)

            The claim that “the re-creation of the original responsiveness report did not
             stray from the original authorization of the 2022 Warrant,” especially in the
             absence of any facts revealing how searches were conducted, what agents were
             instructed, or what procedures were followed. (Id. at 20.)

            The claim that, when the new 2024 searches were conducted, “the fundamental
             theory of liability remained unaltered” and agents had “no ‘new or correcting
             information’ that would have been ‘material to the magistrate’s determination
             of probable cause.’” (Opp. 20 (quoting United States v. Pabon, 871 F.3d 164,
             175 (2d Cir. 2017).)

            The insistence that material obtained pursuant to the 2024 Gmail Warrant is not
             fruit of the poisonous tree because there was no “link” between that warrant and
             the 2022 Gmail Warrant. (Id.)

  Since the government’s arguments turn on those (and other) factual premises, any credence the

  Court might lend to those arguments requires a hearing at which the relevant facts can be

  established. Moreover, factual questions remain regarding whether the government’s initial

  destruction of the original responsiveness report—whether because it was “mistakenly deleted,”

  “inadvertently purged,” or for some other reason (Opp. 18, 20)—was deliberate, reckless, or

  grossly negligent, such that the government’s self-help remedy was unreasonable on that ground. 8


  8
          That is especially true for a novel and sensitive investigation requiring special caution. Cf.
  Kyles, 514 U.S. at 438, 446–49 (quoting Giglio v. United States, 405 U.S. 150, 154 (1972)) (noting
  the obligation to establish “procedures and regulations . . . to carry the prosecutor’s burden and to
  insure communication of all relevant information on each case to every lawyer who deals with it,”
  and recognizing that information undermining the “reliability of the investigation” may be
  exculpatory or impeaching). Crediting the accidental yet complete and permanent destruction of
  important case information from all FBI servers begs some further factual inquiry.


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  Cf. United States v. Whitehorn, No. 86 CR. 644 (WCC), 1986 WL 13809, at *2 (S.D.N.Y. Nov. 26,

  1986) (quoting United States v. Allard, 634 F.2d 1182, 1187 (9th Cir. 1980)) (“[E]xceptions to the

  warrant requirement will not be extended to officials who ‘create their own exigencies.’”).

         None of that is changed by the government’s attempts to avoid a hearing by promising to

  “limit its use of responsive materials associated with the 2022 Warrant to items listed on the three

  charts of header information.”9 (Opp. 19.) The issue here is not partial suppression of certain

  seized items beyond the scope of a warrant, but rather the execution of the warrant itself. The

  government says that “the remedy [here] . . . would be partial suppression consisting solely of

  items falling outside of the three header information charts—none of which the government

  intends to use at trial.” (Opp. 19.) But unlike United States v. Matias, 836 F.2d 744 (2d Cir. 1988),

  which concerned whether items beyond the scope of a valid warrant were seized, see id. at 747,

  here no viable warrant authorized any new searches at all. Thus, everything seized in 2024 was

  obtained unlawfully.    Cf. Nejad, 436 F. Supp. at 736–37 (stating that “searches conducted

  subsequent to the completion of the responsiveness review violated the Fourth Amendment” and

  so for “documents seized following the conclusion of the responsiveness review” the “proper

  remedy [wa]s suppression”).

  II.    The Government’s Inevitable Discovery Arguments Fail While Underscoring the
         Gravity of this Constitutional Violation

         In the alternative, the government argues that the inevitable discovery doctrine “provides

  an additional, independently sufficient basis to deny [Ms.] Sun’s motion.” (Opp. 23.) It does not.




  9
          While not dispositive, it is telling that the government realized from the outset that self-
  suppression of any additional material would be necessary. (See Dkt. 62 at 2.) That concession is
  a further nail in the coffin of any claim that this was a singular two-year-long review.


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         A.      The inevitable discovery doctrine does not apply.

         “Under the inevitable discovery exception,” there must be “no doubt that the [government]

  would have lawfully discovered the evidence later.” United States v. Heath, 455 F.3d 52, 60 (2d

  Cir. 2006) (quoting United States v. Romero, 692 F.2d 699, 704 (10th Cir. 1982) (emphasis in

  original)). Here, the only avenue for eventual discovery identified by the government is the July

  2024 seizure of a computer pursuant to the Residence Warrant. As discussed below, however, the

  probable cause articulated for that subsequent seizure relied upon the very material the government

  now insists it would have found anyway. And no other possibilities of eventual discovery are

  apparent, as the private contents of a Google account likely would have remained inaccessible

  absent a valid warrant. Cf. United States v. Cabassa, 62 F.3d 470, 474 (2d Cir. 1995) (“Clearly,

  the doctrine of inevitable discovery requires something more where the discovery is based upon

  the expected issuance of a warrant. Otherwise, it would result in illegally seized evidence being

  received when there was a 49% chance that a warrant would not have issued or would not have

  issued in a timely fashion, hardly a showing of inevitability.”).

         Applying the inevitable discovery doctrine requires the Court to resolve in the

  government’s favor every contingency necessary for evidence to have been discovered legally. See

  United States v. Stokes, 733 F.3d 438, 444 (2d Cir. 2013) (stating that “evidence should not be

  admitted . . . unless a court can find, with a high level of confidence, that each of the contingencies

  necessary to the legal discovery of the contested evidence would be resolved in the government’s

  favor”). At a minimum, that is a factual inquiry. And on the current record, the government does

  not come close to carrying that burden. To succeed, the government would need to establish the

  inevitability of multiple contingencies, including, inter alia, the following:

             The government inevitably would have developed independent evidence
              demonstrating probable cause to seize the computer during the execution of the
              Residence Warrant. But see Stokes, 733 F.3d at 445 (citing Cabassa, 62 F.3d at


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              472–73) (finding contingency did not weigh in the government’s favor where
              “there was a residual possibility that a magistrate would have required a
              stronger showing of probable cause”).

             The computer was used to access Ms. Sun’s Gmail account and inevitably
              would have been located, seized, and unlocked during the execution of the
              Residence Warrant. But see id. at 447 (contrasting “the district court’s
              inevitability analysis . . . predicated on an assessment of the actions that might
              have been taken by third parties” with “the more typical application of the
              inevitable discovery rule,” like where “the government seeks to invoke the
              doctrine on the basis of standardized, established procedures such as those
              requiring inventory searches”).

             Communications from the period covered by the 2022 Gmail Warrant would be
              preserved on the computer two years later, such that they inevitably would be
              found when the Residence Warrant was executed in 2024.10 But see id. at 445
              (citing Cabassa, 62 F.3d at 472–73) (finding contingency did not weigh in the
              government’s favor where “the agents might have been detected and the
              evidence might have disappeared before the warrant issued”).

  The government has not and cannot establish these or any of the other circumstances essential to

  provide the Court “with a high level of confidence, that each of the contingencies necessary to the

  legal discovery of the contested evidence would be resolved in the government’s favor.” Stokes,

  733 F.3d at 444. As such, the inevitable discovery doctrine cannot be invoked here. 11

         B.      The government’s arguments highlight its reliance on unlawfully obtained
                 material that contaminates later warrants.

         Aside from its legal inapplicability, the inevitable discovery doctrine cannot salvage the

  2022 Gmail Warrant for another more troubling reason: invoking it here would excuse the

  government’s constitutional violation based on fruits of that same violation. In essence, the



  10
           Even the Residence Warrant affidavit did not suggest as much. At most, it averred that
  “files that have been viewed via the Internet”—such as emails viewed online through an externally-
  hosted server like Google—“are sometimes automatically downloaded into a temporary Internet
  directory or ‘cache.’” (Dkt. 82-1 at 63 ¶ 147(d) (emphasis added).)
  11
         The government’s opposition alone certainly does not establish that all of the necessary
  contingencies inevitably would have broken its way. To the extent there are relevant factual
  questions about any of those contingencies, a hearing is necessary.


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  government asks the Court to ignore any impropriety relating to the 2022 Gmail Warrant because

  it later found the same material on a computer seized pursuant to the Residence Warrant. (See

  Opp. 23.) The government downplays, however, that the probable cause it proffered to secure the

  Residence Warrant relied on the same unlawful seizure it defends here.12 The government attempts

  to disguise its dilemma by claiming that information from the 2022 Gmail Warrant played “almost

  no part” in obtaining the Residence Warrant. (Id. (emphasis added).) That dodge fails for a few

  reasons. First, that statement ultimately is an admission that unlawfully obtained material played

  at least some role in securing the Residence Warrant. Second, it is incorrect to suggest that

  information from the 2022 Gmail Warrant was immaterial to obtaining the Residence Warrant.

         As an initial matter, the affidavit underlying the Residence Warrant request refutes the

  government’s argument. (See Dkt. 82-1.) In that affidavit, Special Agent Devin Perry grounded

  his request to seize any electronic devices in “repeated written communications with PRC Consular

  representatives” (id. at 11 ¶ 26), and quoted or referenced a series of alleged “emails,”

  “communications” or “written correspondence” between Ms. Sun and others to convince the Court

  that probable cause existed for agents to grab any devices they might find. (See id. at 11–41 ¶¶

  26–112.) The government acknowledges that strategy with respect to Mr. Hu, who was also a

  subject of the Residence Warrant. (See Opp. 31 (arguing that “the Residence Affidavit indicated

  that a search of [Mr.] Hu’s email account had unearthed evidence of money laundering activity”

  and urging that “[t]he affiant therefore reasonably concluded, ‘I assess that these electronic records

  are in electronic devices used by HU’”).) And it concedes that the Residence Warrant would be

  deficient if “the probable cause as to the device[s] consisted solely of the agent’s general averments


  12
         As such, the Court should also suppress as fruit of the poisonous tree certain material—
  including the computer referenced by the government—obtained pursuant to the Residence
  Warrant.


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  on the use of phones . . . for illicit activities” (id. at 32 (citing United States v. Silva, 23 Cr. 204

  (PGG), 2024 WL 3488305 (S.D.N.Y. July 19, 2024), while insisting that “[h]ere . . . there was

  considerable evidence of Hu’s money laundering activities from Hu’s email account . . . that

  justified the seizure of Hu’s electronic devices.” (Id. (emphasis added).)

          The playbook was the same as to Ms. Sun.13 Like it did with respect to Mr. Hu, the

  government relied on information obtained from her email account to articulate probable cause.

  (See generally Dkt. 82-1 at 11–41 ¶¶ 26–112.) Since the government now denies that (see Opp.

  23), it is worth walking through how such reliance is reflected in the Residence Warrant.

          First, it is plain that the government relied on personal email communications to articulate

  probable cause to search Ms. Sun’s devices. For example, paragraph 55 avers that, “[o]n January

  28, 2019, LINDA SUN used her personal email account to send an email message to PRC Official-

  3,” and then goes on to describe more communications using that account supposedly exchanged

  between Ms. Sun and PRC Official-3. (Dkt. 82-1 at 19 ¶ 55 (emphasis added).) Those messages

  are the only clear mentions of Ms. Sun’s Gmail account, but the affidavit is replete with other

  references to “written communications with PRC Consular representatives” (id. at 11 ¶ 26), many

  of which may be emails as well. The government does not identify each of the accounts

  corresponding to other communications; instead, the affidavit remains carefully ambiguous.




  13
           For that reason, Ms. Sun joins in Mr. Hu’s arguments as to the Residence Warrant to the
  extent they concern material in which she shared a reasonable expectation of privacy. And nothing
  in this submission should be taken to suggest that she credits any of the government’s arguments
  in opposition to Mr. Hu’s motion. She believes that Mr. Hu is correct.


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         It is easy to deduce why. Communications using Ms. Sun’s official email account are

  hardly covert.14 Communications with or regarding the PRC consulate also were not terribly

  unusual given the government’s acknowledgment of her role:

         “While working for the New York State government, LINDA SUN’s core
         responsibilities included acting as a liaison with Asian communities in New York
         State, including the Chinese diaspora community. In furtherance of these
         responsibilities, SUN regularly communicated with PRC diplomatic and consular
         establishments in the United States, including the Embassy of the PRC in the United
         States of America (“PRC Embassy”) and the PRC Consulate. SUN communicated
         with the heads of these establishments, including the PRC Ambassador to the
         United States and PRC Official-1, as well as their deputies and support staff,
         including PRC Official-2, PRC Official-3, and PRC Official-4. For example, SUN
         facilitated communications between the PRC establishments and the governor’s
         office, arranged for meetings between various representatives of the PRC
         government and the New York State government, and coordinated appearances by
         heads of New York State government at events involving the PRC establishments
         or Asian communities. As another part of her core responsibilities, SUN helped
         coordinate constituent services for Asian communities.”

  (Dkt. 82-1 at 9 ¶ 22.) And communications over Ms. Sun’s official email account would not

  provide probable cause to search her personal accounts or devices.15 Ambiguous sourcing of

  accounts in the Residence Warrant affidavit thus gave the impression of probable cause for a

  broader range of accounts and devices based, in part, on identifying and describing emails from

  Ms. Sun’s personal email account. (See id. at 19 ¶ 55; see also id. at 14 ¶ 35 (referencing

  information supposedly “reflected in . . . photographs found in one of her electronic accounts”).)




  14
          Further undermining any probable cause, there is no indication whatsoever in those
  communications that any of Ms. Sun’s colleagues—themselves savvy political operatives—ever
  batted an eye at her policy or political judgment, including with respect to hot-button issues like
  the relationship between the PRC and Taiwan.
  15
         As the Residence Warrant affidavit itself recognized, by the time the government sought
  that warrant Ms. Sun had been out of government and thus without access to any official email
  account for over a year. (See Dkt. 82-1 at 6–7 ¶ 12.)


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         Second, the Residence Warrant actually relied on information obtained pursuant to the

  2022 Gmail Warrant in particular.16 Even the government admits that emails detailed in paragraph

  55 were obtained pursuant to the 2022 Gmail Warrant. (See Opp. 23.) Those emails were used to

  bolster a narrative regarding communications with PRC representatives that had been a particular

  focus of the new 2024 searches (see id. at 3 (noting the seizure of “approximately 50 emails

  between [Ms.] Sun’s account and accounts of PRC consular representatives” not included in the

  header charts) and likewise had motivated the 2024 Gmail Warrant, which—like the Residence

  Warrant—suddenly listed new foreign agent offenses. (See Schaeffer Decl., Ex. D at 3 ¶ 6; Dkt.

  82-1 at 3 ¶ 5.) And revealingly, the government has not argued—as it otherwise might have—that

  the Residence Warrant was an independent source of the material obtained pursuant to the 2022

  Gmail Warrant. See United States v. Smith, 673 F. Supp. 3d 381, 399 (S.D.N.Y. 2023) (stating that

  “[f]or the independent source exception to apply, . . . [a] warrant must be supported by probable

  cause derived from sources independent of” the challenged conduct and “the decision to seek the

  warrant may not be prompted by information gleaned from the illegal conduct” (cleaned up)).

         Nevertheless, the government insists that “only one email responsive to the 2022 Warrant

  appears in the affidavit authorizing seizure of the computer (the Residence Affidavit[)]” and

  complains that “[t]he defense does not challenge the warrant that authorized seizure of the

  computer.” (Opp. 23.) But any “probable cause to search Ms. Sun’s residence and seize emails”

  (id. (emphasis added)) from her personal computer relied at least partly on material obtained from



  16
         Similarly, any investigatory steps based on Ms. Sun’s personal emails prior to obtaining
  the Residence Warrant almost certainly relied on material from the 2022 Gmail Warrant. The
  Residence Warrant was sought on July 19, 2024. (See Dkt. 82-1 at 69.) Review if information
  obtained pursuant to the 2024 Gmail Warrant did not begin until “on or about July 2, 2024,” and
  was not completed until “September 10, 2024,” leaving only information from the 2022 Gmail
  Warrant fully reviewed by July 2024. (Dkt. 62 at 2.)


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  the 2022 Gmail Warrant, so the government’s argument is surprising. (Id.) Had Ms. Sun

  challenged only the Residence Warrant’s particularity, one wonders whether the government’s

  opposition to that motion might rely on the same material it now tries to sweep under the rug (as

  it does in responding to Mr. Hu’s particularity challenge). In any event, suppression is required

  regardless of whether the government relied on material obtained from the 2022 Gmail Warrant in

  seeking the Residence Warrant (because the latter is poisoned by the government’s unlawful 2024

  searches) or it did not (because, absent such information, probable cause was lacking as to Ms.

  Sun’s personal accounts and devices and so seizure of her computer was not inevitable).

  III.   Good Faith Does Not Excuse Unlawfully Resuscitating a Two-Year-Old Warrant

         The government’s final argument is that the Court should ignore any constitutional

  violation because that conduct is “covered by the good faith exception.” (Opp. 21.) That is also

  incorrect.

         A.      The government’s attempts to reframe and minimize its conduct are unavailing.

         Once again, the government’s arguments rely on reframing the actual issues. In its view,

  “agents sought to comply with the 2022 Warrant” and were “guided by a desire to be faithful to the

  contours of the 2022 Warrant.” (Id. (emphasis added).) The government also complains that “there

  is no consensus in this Circuit as to when temporal limitations are required” or when failure to

  comply with such limitations “may invalidate an otherwise valid search warrant.” (Id. (quoting

  Nejad, 436 F. Supp. 3d at 732).) So, it asks, how were its agents to know that a fully executed

  warrant cannot be used to conduct new searches two years later? As a general matter, the Court

  should be wary of that expansive argument given its alarming implications. The argument is also

  meritless in the context of this case.

         First, the issue is not whether these agents could divine what temporal limits might be

  reasonable for these searches. As discussed above, that ship sailed when the government conceded


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  that agents completed their search after two months, generated a responsiveness report, and then

  did nothing more for two years. Whatever “a reasonably well trained [agent] would have known”

  about the permissible timeframe for an initial responsiveness review is irrelevant. United States v.

  Roberts, 852 F.2d 671, 675 (2d Cir. 1988) (citing United States v. Leon, 468 U.S. 897, 922 n.23

  (1984)). The issue here is whether such an agent would think that a fully executed warrant can be

  resuscitated two years later to fix an alleged government blunder. The objective answer is no.

         Second, the government repeatedly implies that the Fourth Amendment is sidelined here

  because agents merely “sought to re-create the responsiveness report from 2022” or “re-create an

  exact duplicate of a responsiveness report . . . faithful to the contours of the 2022 Warrant.” (Opp.

  21.) As noted above, the government provides no legal authority for that proposition. See also

  Nejad, 436 F. Supp. 3d at 736; Collins, 409 F. Supp. 3d at 244. The Fourth Amendment and its

  warrant requirement are triggered by an intrusion into an individual’s reasonable expectation of

  privacy. See Jacobsen, 466 U.S. at 113. That inquiry turns on whether such an intrusion occurred

  and if it was authorized, not whether intruding agents conducted entirely new searches or reprised

  searches from years before.

         Third, “the[se] agents’ relative inexperience with electronic review” is irrelevant to the

  good faith inquiry. (Opp. 21.) The government initially acknowledges that the “‘good-faith

  inquiry is confined to the objectively ascertainable question whether a reasonably well trained

  officer would have known that the search was illegal’ in light of ‘all of the circumstances,’” but

  then says the Court should also consider subjective factors like these “particular [agents’]

  knowledge and experience.” (Id. at 22 (quoting Herring v. United States, 555 U.S. 135, 145

  (2009)).) The Second Circuit, however, has made clear that the good faith analysis is not focused

  on individual agents, but rather “reasonably well trained” agents writ large. Roberts, 852 F.2d at




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  675. That is consistent with the exclusionary rule’s goal to broadly deter “deliberate, reckless, or

  grossly negligent conduct” and “recurring or systemic negligence.” Herring, 555 U.S. at 144. And

  if anything, the government’s “relative inexperience” argument (Opp. 21) supports invoking the

  exclusionary rule here, because suppression would deter future violations by encouraging a

  minimum level of experience (or at least supervision) for agents conducting sensitive and highly

  invasive searches across years of private electronic information. 17

         Fourth, the sweep of the government’s argument should give this Court pause. At bottom,

  it urges that no reasonable agent could anticipate temporal limitations on electronic searches—

  either because different courts have found different review timeframes to be reasonable, or because

  failing to abide by certain timelines may not always result in the invalidation of a warrant. (See

  Opp. 21.) But suppression decisions are necessarily predicated on the facts and circumstances of

  each case, and mandating that review timeframes be “reasonable” is supposed to be a flexible

  standard that balances fundamental constitutional rights against investigatory needs. It upends that

  balance to say that flexibility itself precludes a reasonable agent from appreciating that new email

  searches require a fresh warrant when conducted two years after the prior warrant was fully

  executed, the data was reviewed, and a responsiveness report was generated. It eviscerates that




  17
          As noted previously, Ms. Sun’s articulation of these arguments already seems to have
  deterred a further Fourth Amendment violation in this case. (See Mot. 17–18.) That itself suggests
  suppression will be an effective deterrent. For its part, the government insists that it “obtained the
  2025 Warrant in an abundance of caution, approximately two months after the forensic image of
  the underlying data had become inaccessible,” which merely “reflect[ed] caution[] and not any
  supposed constitutional infirmity of the agents’ earlier conduct.” (Opp. 22.) But caution after only
  two months is significant change from indifference after two years. Nor is it “logical” to conclude
  that suppression is unnecessary because “corrective action has already been achieved” once in this
  case. (Id. at 22–23.) Declining to suppress this illegally obtained evidence would quickly erode
  any newfound “caution” by signaling that similar future violations will have no consequences.


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  balance to argue, as the government does here, that agents can unilaterally pursue such a Fourth

  Amendment intrusion to remedy the government’s own mistakes.

         Perhaps these agents were indeed doing their best to make up for accidentally destroying

  evidence. But see Voustianiouk, 685 F.3d at 216–17 (concluding that “the officers involved in this

  case were well-meaning . . . [b]ut simply because they were trying to do the right thing does not

  mean that they reasonably concluded that the warrant in their possession authorized the search

  they conducted”). Ultimately, however, that is irrelevant because it is “objectively” clear that “a

  reasonably well trained [agent] would have known” that new searches based on a fully executed,

  two-year-old warrant “w[ere] illegal in light of all of the circumstances,” United States v.

  Bershchansky, 788 F.3d 102, 113 (2d Cir. 2015) (quoting Herring, 555 U.S. at 145). Agents

  proceed in good faith when they “act[] in strict compliance with binding precedent,” Davis v.

  United States, 564 U.S. 229, 240 (2011), and “t[ake] every step that could reasonably be expected

  of them.” Massachusetts v. Sheppard, 468 U.S. 981, 989 (1984). Good faith does not excuse the

  government’s conduct here.

         B.      Even if the government could demonstrate good faith, its arguments are
                 predicated on factual assertions that require a hearing.

         In any event, the government’s good faith arguments—like its other arguments in

  opposition to Ms. Sun’s motion—are predicated on factual assertions that merit a hearing. Many

  of those assertions were already identified above, such as the claim that “agents sought to re-create

  the responsiveness report from 2022, rather than locate additional responsive materials as guided

  by newly discovered information in the investigation.” (Opp. 21.) None of those factual assertions

  should be credited based purely on the government’s representations.

         With respect to good faith in particular, the government further asserts that “[a]t bottom,

  the agents sought to comply with the 2022 Warrant” and the new 2024 searches “reflected an effort



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  to re-create an exact duplicate of a responsiveness report and [were] guided by a desire to be

  faithful to the contours of the 2022 Warrant.” (Id.) Those factual claims, too, require support,

  such as testimony or other evidence about agents’ actual training, instruction, intentions,

  understanding, recollection of the prior responsiveness report, and review efforts in 2024. The

  government also injects new facts that may or may not bear on the Court’s analysis, including

  claims about “the agents’ relative inexperience with electronic review” (id.), which might be

  relevant to whether the conduct here is reflective of “recurring or systemic negligence.” Herring,

  555 U.S. at 144. And the government claims that its decision to seek the 2025 Warrant (see

  Schaeffer Decl., Ex. F) had nothing to do with rules for responsiveness reviews or the defense’s

  request to file a suppression motion, which are factual questions potentially relevant to deterrence.

  Finally, the government claims that the agents’ conduct was not “sufficiently deliberate” or

  “sufficiently culpable” to warrant exclusion. (Opp. 23 (quoting United States v. Rosa, 626 F.3d

  56, 64 (2d Cir. 2010).) Should the Court determine that the government still might be able to

  demonstrate good faith in the end, all of those factual issues would require an evidentiary hearing

  to resolve. It is a bridge too far for the government to argue, based on its word alone, that good

  faith excuses its constitutional violation.

                                            CONCLUSION

          For the foregoing reasons, the government’s conduct violated the Fourth Amendment and

  Ms. Sun’s motion may be granted without a hearing. In contrast, the government’s arguments in




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  opposition rest on numerous factual assertions. Should the Court conclude that those facts are

  relevant to its determination, Ms. Sun requests that the Court hold an evidentiary hearing.

   Dated:        April 18, 2025
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                                                       Respectfully submitted,

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